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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

IN RE:                                                )
                                                      )
INVERNESS VILLAGE, an Oklahoma                        )
     not for profit corporation,                      )       Case No.: 19-11510-R
                                                      )       (Chapter 11)
                                                      )
                                       Debtor.        )
                                                      )

                        DECLARATION OF MICHAEL THATCHER

         I, Michael Thatcher, declare under penalty of perjury pursuant to 28 U.S.C. § 1746:

         1.     I am the Chief Restructuring Officer (“CRO”) of Inverness Village, an Oklahoma

not for profit corporation and the debtor and debtor in possession (“Debtor”) in the above-

captioned case (the “Chapter 11 Case”).

         2.     I am also a Senior Managing Director of GlassRatner Advisory Capital Group, LLC

(“GlassRatner”). I was appointed to the role of CRO in December, 2018. I have nearly 20 years

of industry and restructuring experience. I have provided restructuring, crisis management,

financial advisory, and expert witness consulting services to parties in a broad variety of distressed

corporate settings, with significant expertise serving as a chief restructuring officer, Chapter 11

liquidating trustee, receiver in both state and federal courts, and financial advisor to debtors,

lenders and unsecured creditor committees. I have extensive distressed healthcare experience,

having advised on the restructurings of hospitals, surgical centers, in- and outpatient rehabilitation

treatment facilities, providers of hospice and palliative care services, chronic pain diagnostic and

treatment services, medical supply distribution businesses, and senior care retirement

communities.     I am a Certified Insolvency & Restructuring Advisor as designated by the

Association of Insolvency & Restructuring Advisors, a member and former BOD member of the

Turnaround Management Association – DFW Chapter, member of the American Bankruptcy
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Institute, and a member and former BOD member of the Commercial Finance Association,

Southwest Chapter.

       3.      In my capacity as CRO for the Debtor, I have personal knowledge of, and am

familiar with, the business affairs, books and records, and financial condition of the Debtor, and I

am authorized to submit this Declaration (the “Declaration”) on behalf of the Debtor. I submit

this Declaration to assist the Court and parties in interest in understanding the circumstances that

led to the commencement of this Chapter 11 Case and in support of: (a) the Debtor’s voluntary

petition for relief under Chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”) filed on the date hereof (the “Petition Date”) in the United States Bankruptcy Court

for the Northern District of Oklahoma (the “Court”); and (b) the various forms of relief that the

Debtor has requested or will request from the Court.

       4.      As CRO, I have undertaken the following duties on behalf of the Debtor prior to

the commencement of Debtor’s bankruptcy case:

       (a) Managed the Debtor’s liquidity through the development of 13-week cash flow budgets

            and tracked actual versus budget performance for the eight-month period prior to filing;

       (b) Interacted extensively with the accounting, finance and treasury management teams of

            Asbury (as hereafter defined), the Debtor’s sole member and contract manager;

       (c) Interfaced on a regular basis with the Debtor’s onsite management team in order to

            analyze the capital requirements of the retirement campus and managed capital

            expenditures accordingly;

       (d) Worked with the Debtor’s Board of Directors and legal counsel on matters related to

            pre- and post-petition strategy, liquidity, and in negotiations with the Bond Trustee (as

            hereafter defined) and its financial advisors;

       (e) Assisted the Debtor’s co-investment banking team in efforts to market the Debtor’s

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            business for sale;

       (f) Prepared schedules associated with various drafts of the Debtor’s proposed asset

            purchase agreement; and

       (g) Coordinated efforts led by counsel to prepare the Debtor for its Chapter 11 filing,

            including preparation of the various first-day motions, schedule of assets and liabilities

            and statement of financial affairs, as well as the matrix utilized to notice creditors and

            other parties in interest of this Chapter 11 proceeding.

       5.      Contemporaneously herewith, the Debtor has filed the following motions and

applications (collectively, the “First Day Pleadings”):

       i.      Debtor’s Motion for Interim and Final Orders (1) Authorizing Post-Petition
       Financing; (2) Authorizing Use of Cash Collateral; (3) Providing Adequate
       Protection; (4) Granting Liens, Security Interests and Super Priority Claims; and
       (5) Providing Notice to File Objections and Setting of Final Hearing;

       ii.    Motion of the Debtor for Interim and Final Orders Authorizing the Debtor
       to Pay Prepetition Salaries, Wages, and Compensation, (II) the Continuation of
       Employee Benefit Programs and (II) Directing Banks to Honor and Process Checks
       and Transfers Related to Such Employee Obligations;

       iii.   Application of the Debtor for Entry of an Order Authorizing the Retention
       of Epiq Corporate Restructuring, LLC as Official Claims, Noticing and Balloting
       Agent Combined with Notice and Opportunity for Hearing;

       iv.    Motion of the Debtor for Entry of an Order Authorizing the Implementation
       of Procedures to Maintain and Protect Confidential Patient Information;

       v.      Motion of the Debtor for Entry of Interim and Final Orders (I) Prohibiting
       Utility Providers from Altering, Refusing or Discontinuing Service, (II) Deeming
       the Utility Providers Adequately Assured of Future Performance, and (III)
       Establishing Procedures for Determining Requests for Additional Adequate
       Assurance; and

       vi.    Motion of Debtor for Order Authorizing the Debtor to Segregate New
       Resident Entrance Fees and Refund Certain Entrance Fees.

       6.        I am generally familiar with the contents of each First Day Pleading and believe

that the relief sought therein allows the Debtor to fulfill its duties as debtor in possession and
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minimize the disruption to the Debtor’s business operations that may be caused by this Chapter 11

Case.

        7.       Except as otherwise indicated, all facts set forth in this Declaration are based upon

my personal knowledge, my review of relevant documents, my opinion based upon my experience

and knowledge of the Debtor’s operations and financial condition, and information provided to me

by management, advisors, or other representatives of the Debtor. If called as a witness, I would

testify consistently with the facts set forth in this Declaration.

                                    PRELIMINARY STATEMENT

        8.       Debtor owns the “Inverness Facility”, which is a modern senior living community

that was completed in 2003 and accommodates residents’ needs based on their required level of

care through its integrated independent living facility, assisted living facility, and skilled nursing

and memory-care facilities. As a continuing care retirement community (a “CCRC”), Debtor

offers its residents a continuum of care in a campus-style setting, providing living accommodations

and related health care and support services to a target market of seniors aged 55 and older. The

Inverness Facility is located at 3800 West 71st Street, Tulsa, Creek County, Oklahoma, sits on

approximately 190 acres, and includes the following facilities:

                (a)     An independent living facility that has a total of 256 units consisting
        of (i) 196 Apartments that are one- or two-bedroom units located in a 3-story
        building with underground parking and covered parking spaces; 40 cottages that
        range in size from 1,516 to 1,912 square feet, each equipped with a two-car attached
        garage; and (iii) 20 garden homes that are free-standing residences with floor plans
        ranging from 2,101 to 2,308 square feet, each equipped with a two-car attached
        garage and a safe room for severe weather.

               (b)    An assisted living facility that offers personalized care support in a
        secure area with 31 assisted living units (consisting of 35 beds) and 12 memory
        care units.

               (c)   A skilled nursing facility that consists of 44 private rooms, all of
        which are Medicare-certified and 12 of which are in a secure area for memory care
        residents.
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           9.        Living units include, among other things, designer kitchens with granite

countertops, full size appliances, individually controlled heating and air conditioning, and washers

and dryers. Debtor also offers its residents a full roster of activities, wellness programs, fine

dining, and field trips. Debtor provides its residents with a number of amenities including: (i) a

dining room, as well as a private dining room for special occasions, (ii) a bistro/café, (iii) a

wellness/fitness center, (iv) a library, (v) a business center, (vi) a beauty salon/barbershop, (vii) a

creative arts center and woodworking shop, (viii) various club rooms, (ix residential storage, (x)

a mail alcove, (xi) a bank facility and 24 hour ATM. (xii) a chapel, (xiii) a resale shop, (xiv) dog

park, and (xv) other amenities. Other amenities include 24-hour security, landscaped courtyards,

and an underground parking garage.

           10.       The Debtor has historically received revenue from several sources, which include:

(i) monthly service fees from residents, (ii) per diem rates for skilled nursing services, (iii) fees

for optional services, (iv) resident entrance fees, and (v) transportation fees. Entrance Fees range

from approximately $250,000 to $600,000. Monthly service fees range from $1,000 to $6,600.

           11.       Debtor relies on monthly fees paid by residents (the “Monthly Fees”) to maintain

day-to-day operation of the Inverness Facility. Since January 2018 the Debtor’s revenues have been

inadequate to honor all its financial obligations. Specifically, in January, 2018 the Debtor failed to

have adequate cash flow to service its secured debt. Additionally, since November, 2018 the Debtor

has not been refunding entrance fees due to former residents or their families.

           12.       The operations of the Inverness Facility are managed by Asbury Communities, Inc.

(“Asbury”) pursuant to a Management Services Agreement. Additionally, upon information and

belief, Asbury is the sole member of the Debtor.1 Asbury is a Maryland not-for-profit corporation


1
    The Debtor is a nonstock corporation that has “members” rather than shareholders.
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based in Frederick, Maryland. Asbury serves as the supporting organization of 6 retirement centers

located East of the Mississippi River. In various marketing materials, the Debtor is referred to as

“Asbury Inverness Village”.

        13.        Debtor has no employees.            The staff is employed by Affiliated Associates,

Inc.(“Affiliated”), an entity affiliated with Asbury. Affiliated employs the staff at the Inverness

Facility and is responsible for all employment related matters for such staff.2 Debtor is responsible

for all of the payroll costs and funds the cost of Debtor’s staff shortly before disbursement of the

payroll and related taxes, fees, and costs by Affiliated.

        14.        Debtor has a complex financial structure. There are essentially 4 groups of creditors

generally described as follows:

                (a)     Bondholders. UMB Bank, N.A. (“Bond Trustee”) serves as trustee
        for certain unidentified bondholders under that certain Trust Indenture dated as of
        May 1, 2012 between The Oklahoma Development Finance Authority (the
        “Issuer”) and the Bond Trustee and under that certain Trust Indenture dated as of
        July 1, 2013 between the Issuer and the Bond Trustee. The Bond Trustee contends
        that in excess of $65 million is due and owing under the Indentures.

                (b)     Asbury. In addition to having management and operating
        responsibility over essentially all aspects of the Inverness Facility, for a period of
        many years Asbury has provided financial support to the operation of the Inverness
        Facility in an amount in excess of $45 million. The audit report for the Debtor
        commissioned by Asbury shows the following amounts of indebtedness owed by
        the Debtor to Asbury:

                 Due to ACOMM, Net                                                      $11,088,186
                 Deferred Debt -Due to Asbury Communities, Inc.                         $ 6,231,883
                 Accrued Interest-Deferred Debt                                         $ 347,749
                 Subordinated Loan-Due to Asbury Communities, Inc.                      $13,000,000
                 Accrued Interest-Subordinated Loan                                     $ 6,787,946

               (c)     Resident Refund Obligations. Residents at the Inverness Facility
        execute a Residency Agreement that includes the payment of a significant entrance
2
  In addition to the staff employed by Affiliated, 7 or 8 management personnel at the Inverness Facility are employed by
Sodexo Operations, LLC and render services at the Inverness Facility related to dining, housekeeping, laundry, and
facilities services. The Sodexo employees are provided to the Inverness Facility for a fee pursuant to various service
contracts.
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       fee. Depending on the form of Residency Agreement executed by a resident, a
       portion of the entrance fee is refundable. The amount of refundable entrance fees
       is recorded on the Debtor’s balance sheet as both a current and non-current liability
       in an amount in excess of $60 million. Residents or their heirs are only entitled to
       a refund of the entrance fees upon the satisfaction of several conditions, including
       a new resident occupying the former’s resident’s independent living unit.

               (d)   Trade creditors and Employees. This class of creditors includes
       trade vendors (including food and drug suppliers) with outstanding and unpaid
       invoices of Debtor from time to time and staff at the Inverness Facility that are due
       their compensation from time to time.

       15.     The Debtor’s financial structure is further complicated by the terms and conditions

of that certain Subordination Agreement between Asbury, the Bond Trustee, and the Debtor and

that Certain Manager’s Consent and Agreement between Asbury and the Bond Trustee whereby

Asbury subordinated to the Bond Trustee certain indebtedness and payment obligations owed by

the Debtor to Asbury.

       16.     Attached hereto as Exhibit A are the unaudited financial statements for the Debtor

for the period ending June 30, 2019, which were prepared by Asbury.

       17.     Debtor generates monthly operating revenues in a range of $1.5 to $1.7 million.

       18.     Currently the Inverness Facility has approximately 293 residents with such

residents requiring a varying degree of care classified as independent living, assisted living, and

skilled nursing.

       19.     Prior to August, 2018, the Debtor’s Board of Directors consisted of dedicated and

responsible community and charitable leaders from the Tulsa, Oklahoma area. The members of

the Board of Directors served a valuable role in creating and building what became the Inverness

Facility. However, because of the financial difficulties encountered by the Debtor in 2018, the

Board of Directors was reconstituted so that the members of the Board of Directors would include

individuals that had experience dealing with a challenging business and financial environment.

Therefore, in August of 2018 the Debtor’s Board of Directors was reconstituted with new members

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that had significant financial, legal, and operational expertise. The current Board of Directors are

all experienced business executives that have the skill set to navigate Inverness Village through its

financial difficulties. Each member of the current Board of Directors is paid a monthly fee of

$7,500 and reimbursed for reasonable business expenses. Importantly, each of the members of the

Board of Directors is independent from, and has no relationship with, Asbury or the stalking horse

bidder selected as part of the Sale Process (as defined hereafter).

       20.     Each member of the Debtor’s Board of Directors has been actively involved in the

prepetition efforts of the Debtor including the Sale Process. The members of the Board of

Directors have directly interfaced with the Bond Trustee and parties interested in acquiring the

Inverness Facility, participated in establishing the Sale Process, selected the appropriate

professionals for this Chapter 11 Case, monitored the activities of the professionals, and have met

regularly (usually on a weekly or more often basis).

       21.     On October 10, 2018 the Bond Trustee commenced a lawsuit in Creek County,

Oklahoma that sought to foreclose on the Inverness Facility (the “Bond Lawsuit”). The Bond

Trustee also sought the appointment of a receiver over the Inverness Facility. On October 10,

2018 the District Court for Creek County entered its “Order Appointing Receiver” (the “Order”).

The Order was entered on an ex parte basis and appointed a Receiver and granted injunctive relief

without offering the Debtor an opportunity to challenge the relief requested. The Order also

ordered injunctive relief without the posting of a bond as required by Oklahoma law.

       22.     On October 31, 2018 the Debtor filed “Defendant’s Motion to Vacate Ex Parte Order

and Brief in Support” that sought to vacate the Order. At a hearing on November 9, 2018 the Court

vacated its prior Order appointing a Receiver. A properly noticed hearing on the Application to

Appoint Receiver was then scheduled for December 21, 2018.



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       23.      Subsequent to the hearing on November 9, 2018, the Debtor’s Board of Directors and

the Bond Trustee engaged in a constructive dialogue relating to the future of the Inverness Facility.

Those discussions resulted in the execution of a Forbearance Agreement effective December 20, 2018

(the “Forbearance Agreement”). The Forbearance Agreement outlined the retention of a CRO and

investment bankers and outlined a timeline for the Sale Process.

       A.        Residency Agreements

       23.      As is common practice in the CCRC industry, a resident interested in occupying an

independent living unit in the Inverness Facility must enter into a Residency Agreement (a

“Residency Agreement”) with Debtor. Unlike a pure rental retirement community, whereby a

resident pays Monthly Fees for services (which fees may increase as the resident’s needs change),

the Residency Agreement is a life care contract whereby a resident will pay an Entrance Fee and

fixed monthly fees (subject to annual increases) for Debtor’s commitment to provide services for

the duration of the resident’s life, regardless of whether (i) the resident’s needs change over time,

which may require additional services to be provided by Debtor, or (ii) the costs of providing such

services increase for Debtor. Significantly, Debtor’s commitment to provide life care services

continue even if the resident’s financial condition deteriorates and is unable to continue to make

its payments.

       24.       The Residency Agreement sets forth terms and conditions under which the resident

will occupy a unit, including outlining the obligations for the payment of an Entrance Fee, the

amount and timing of the refundable portion of that Entrance Fee, the amount of Monthly Fees to

be charged, and other general matters.

       25.       In general, a prospective resident must pay an Entrance Fee prior to occupying a

unit at the Inverness facility. Typically, in order to reserve a unit a prospective resident delivers a

fully refundable deposit prior to executing the Residency Agreement and there is oftentimes a period
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of time between the placement of a deposit and the execution of the Residency Agreement and

payment of the Entrance Fee. The balance of the Entrance Fee is due on or before the move-in date,

except in circumstances where a deferred portion of the Entrance Fee is negotiated with the resident.

       26.      In consideration for payment of Entrance Fees, Monthly Fees and other fees

charged by Debtor, residents are furnished with a residence and are given access to a wide array of

services.

       27.      If, after the move-in date set forth in the Residency Agreement, (i) a resident

terminates the Residency Agreement; (ii) a resident dies; or (iii) in rare instances, Debtor

terminates the Residency Agreement pursuant to the provisions therein, then such resident is

entitled to the refundable portion of his or her Entrance Fee (the “Refund”) pursuant to the terms

of its Residency Agreement. The Refund is due after a resident physically and permanently leaves

the unit, including the removal of the resident’s personal property, and is made after the date a

new Entrance Fee and executed Residency Agreement is received and the new resident has taken

occupancy of that resident’s unit.

       B.       Sponsorship by Asbury.

       28.      Asbury has been the sole corporate member and sponsor of Debtor since inception.

Asbury is a Maryland not-for-profit corporation, a tax-exempt organization under Section

501(c)(3) of the Internal Revenue Code of 1986 (the “Tax Code”) and a “supporting

organization” under Section 509(a)(3) of the Tax Code.

       29.      As the sole member of the Debtor, Asbury has certain rights under the Bylaws of

the Debtor including the right to remove members of the Board of Directors of the Debtor.

       30.      In addition to being the sole member of the Debtor, Asbury has historically been

the contract manager for the Inverness Facility. Asbury has served in those roles since the

inception of the Debtor. Pursuant to a Management Services Agreement, Asbury serves as
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exclusive manager of the operations of the Inverness Facility. Asbury provides the following non-

exhaustive list of services: (i) determine operating policies and procedures; (ii) develop and

execute a sales plan; (iii) establish food and beverage policies; (iv) establish all employment

policies, including wage and salary terms, benefits, retirement plans, and bonuses; (v) hire,

promote, supervise, direct, train, transfer, and discharge all Debtor’s staff; (vi) negotiate and

consummate such agreements as Asbury deems necessary or advisable for furnishing all utilities,

services, supplies, food, beverages, equipment, and other materials and supplies for the

maintenance and operation of the Inverness Facility; (vii) establish advertising and public relations

policies; (viii) maintain the financial books and records for the operation of the Inverness Facility;

(ix) the payment of all of the expenses of the Debtor; (x) manage legal and compliance matters;

(xi) provide and manage information technology including the hosting of the Debtor’s computer

network; and (xii) strategic planning.

       31.      As compensation for such services, Asbury charges a management fee equal to

approximately 5.4 percent of annual gross operating revenue or $90,983 per month thus far in 2019

and a technology fee equal to $34,993 per month thus far in 2019.

       32.      Notwithstanding Asbury’s management of the Inverness Facility, the Debtor

remains the owner and holder of all licenses, accreditation certificates, and contracts obtained in

the name of the Debtor in connection with the operation of the Inverness Facility.

       33.      Since my appointment as CRO, I have attempted to the greatest extent possible to

manage the payment of expenses incurred by Asbury on behalf of Debtor. Asbury maintains sole

signatory rights associated with the Debtor’s primary operating bank account at SunTrust Bank,

and to date, has not agreed to the CRO being an additional signor on such account. Shortly after

my engagement as CRO in December 2018, Asbury agreed to a protocol wherein they would not

make disbursements from the Debtor’s operating account without my review and approval. As
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part of the protocol, on a weekly basis I am sent a list of disbursements recommended for payment

by Asbury. I analyze the disbursements, compare them with budgeted amounts and available

liquidity, re-prioritize as necessary, and instruct Asbury to pay vendors from this authorized

disbursement list. Bi-weekly payroll is approved in similar fashion.

       C.       Regulation of the Inverness Facility.

       34.     Debtor is licensed by the Oklahoma Department of Health as a continuum of care

facility pursuant to the Continuum of Care and Assisted Living Act. 63 O.S. § 1-890.1. A

continuum of care facility is defined as an institution that includes licensed nursing facilities and

either an assisted living center or a day care center. As a licensed nursing facility under Oklahoma

law, Debtor holds a Certificate of Need pursuant to the Oklahoma Long Term Care Certificate of

Need Act.

       35.     Debtor obtained its Certificate of Need on October 22, 2001 as a qualified

retirement facility pursuant to IRS regulations. Eight days later on November 1, 2001, an

amendment to the Oklahoma Long Term Care Certificate of Need Act became effective that

provided an exception to the standard Certificate of Need process for not-for-profit life care

communities, allowing life care communities to obtain unlimited Certificate of Need nursing beds

subject to restrictions after 7 years (the “Life Care Exceptions”). In 2016, the Life Care Exceptions

were further amended to mandate the service that must be provided for any prepayment or entry

fee and a requirement that the prepayment fee is at least $50,000 and is actuarially established.

       36.     Debtor asserts that it is not subject to the Life Care Exception and its subsequent

amendments because of the basis and timing of its Certificate of Need and that pursuant to the

statute the latter amendment only applies to retirement communities commencing obligations after

January 1, 2016.

       37.     As a licensed continuum of care facility, Debtor complies with the regulations and

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statutory provisions of the Continuum of Care and Assisted Living Act and the regulations and

statutory provisions of the Nursing Home Care Act. 63 O.S. § 1-1900.1 and 63 O.S. § 1-1950 et

seq.

        38.     The offer and acceptance of Debtor’s Residency Agreements are subject to the

jurisdiction of the Oklahoma Department of Securities (the “ODS”). Pursuant to a letter to Debtor

dated November 16, 2001 the ODS has taken the position that the Debtor’s form of Residency

Agreement is a “security” under Oklahoma law. As a security, the offer and acceptance of

Residency Agreements is subject to the registration and anti-fraud disclosure provisions of

Oklahoma securities law. The Residency Agreements are presently exempt from registration

pursuant to an exemption claimed by the Debtor. While exempt from registration requirements,

the Residency Agreements are not exempt from the anti-fraud provisions of Oklahoma law.

Therefore, the form of Residency Agreement offered by the Debtor must contain adequate

disclosures of risk relating to the Residency Agreements.

        II.     EVENTS LEADING TO BANKRUPTCY

        39.      At this time, the Inverness Facility has no operational or healthcare issues and has

not found itself defending contentious litigation brought on by its residents or its estate. Since the

Debtor’s defaults in early 2018 the level of services and care provided to the Debtor’s residents

have been largely unaffected by the Debtor’s financial difficulties. The reason for the Debtor’s

bankruptcy case is that Debtor simply cannot continue to maintain its current debt structure.

        40.      The senior housing market in Tulsa, Oklahoma is very competitive and has been

since Debtor opened for business. Debtor competes with 3 primary competitors all located within

a fifteen (15) mile radius of the Inverness Facility. Debtors and its competitors compete not only

for residents, but also for staff.

        41.      From inception, Asbury had financially supported the Debtor by providing direct

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cash contributions, waiving certain fees and expenses, and satisfying certain obligations of the

Debtor. Asbury announced to the Debtor late in 2017 that Asbury would no longer financially

support the Debtor. Therefore, the Debtor failed to make its required payments to the Bond Trustee

in January, 2018. Such payment default resulted in a temporary inability to offer Residency

Agreements due to the characterization of the Residency Agreements as a “security” under to

Oklahoma law. After initially ceasing the offering of Residency Agreements in January 2018 due

to the bond default, the Debtor was able to again offer Residency Agreements from approximately

May 15, 2018 through October, 2018. The Debtor voluntarily suspended the execution of new

Residency Agreements in November, 2018 due to a lack of forbearance agreement with the Bond

Trustee and the commencement of the Bond Lawsuit. The Debtor is proposing to the Court a

procedure that will allow the Debtor to execute new Residency Agreements during the Chapter 11

Case.

        42.     In December 2018, the Debtor’s restructuring professionals engaged in

discussions with the Bond Trustee that resulted in the execution of the Forbearance Agreement

that included a requirement for the submission of periodic operating budgets, and the

commencement of a sale process for the Inverness Facility. Upon the execution of the Forbearance

Agreement, the Debtor commenced a process of marketing and offering for sale the Inverness

Facility (the “Sale Process”).

        43.     Since the beginning of 2019, the Debtor has engaged investment bankers and

conducted an active and robust sale process for the Inverness Facility. A total of 634 financial and

strategic parties were contacted by the Debtor’s professionals and invited to participate in the sale

process. As a result of the initial solicitation, 32 parties executed nondisclosure agreements with

the Debtor and were granted access to the Debtor’s electronic data room. After an initial round of

due diligence and numerous site visits at the Inverness Facility, 10 parties submitted non-binding

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term sheets (the “Initial Proposals”) for the acquisition of the Inverness Facility. The Initial

Proposals were proposed by for profit and non-profit organizations and included a variety of

acquisition structures, including cash purchases and debt restructurings. Parties were then asked

to revise their Initial Proposals to further enhance and clarify the consideration being offered.

Following a review of the revised Initial Proposals, two parties were determined to have submitted

offers that were sufficient to warrant providing additional due diligence and the negotiation of

definitive acquisition agreements with the Debtor. Of those two bidders, the Debtor selected Tulsa

Hills Community, Inc., an Oklahoma not for profit corporation and subsidiary of Covenant Living

Communities and Services, as the Stalking Horse Bidder that submitted the best offer for the

Inverness Facility. The Chapter 11 Case was commenced in order to consummate the sale of the

Inverness Facility.

       III.    FIRST DAY PLEADINGS

       44.       Contemporaneously with the filing of its Chapter 11 petition, Debtor has filed the

First Day Pleadings. The Debtor requests that each of the First Day Pleadings be granted, as they

constitute a critical element in ensuring the stabilization of the Debtor’s operations at the outset of

this Chapter 11 Case.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 22nd day of July, 2019.

                                                         /s/ Michael Thatcher
                                                         Chief Restructuring Officer




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                EXHIBIT A
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                                    Inverness Village
                                     Balance Sheets
                         As of June 30, 2019 and Year End 2018

                                                                      6/30/19               12/31/18
  Assets

  Current Assets

  Cash and Cash Equivalents                                      $         920,700     $       1,970,579
  Restricted Cash                                                        2,831,515             2,222,406
  Investments                                                                  -                     181
  Accounts Receivables, Net                                                417,297               517,367
  Prepaid Expenses and Other Assets                                        197,944               984,898
  Investments Held Under Bond Indenture                                  2,773,564             3,153,122
     Total Current Assets                                                7,141,020             8,848,553

  Other Assets
  Property, Plant, & Equipment, Net                                     54,664,402            56,242,192
  Deposits and Other Assets                                                  5,000                 5,000
  Beneficial Interest in Net Assets of Foundation                          545,135               545,135

  Total Assets                                                   $      62,355,557     $      65,640,880


  Liabilities and Net Assets

  Current Liabilities

  Accounts Payable and Accrued Expenses                          $         554,300     $         538,130
  Accrued Bond Interest Payable                                          3,444,495             1,741,151
  Deposits From Prospective Residents                                      217,280               197,280
  Entrance Fees Refundable                                               1,855,644             1,855,644
  Deferred Revenue - Other                                                 355,877               698,611
  Current Maturities - Long Term Debt                                   60,582,973            60,549,872
     Total Current Liabilities                                          67,010,569            65,580,688


  Long Term Debt                                                                -                      -


  Other Liabilities
  Due to ACOMM                                                          10,935,172            11,088,186
  Refundable Entrance Fees                                                  76,656                76,656
  Deferred Revenue                                                       7,605,652             8,282,555
  Estimated Obligation for Future Services                               2,173,271             2,173,271
  Refundable Entrance Fee Contingent Liability                          60,403,709            60,692,165
  Accrued Interest - Deferred Debt                                         370,926               347,749
  Deferred Debt - Due to ACOMM                                           6,231,883             6,231,883
  Accrued Interest - Subordinated Loan                                   7,110,274             6,787,946
  Subordinated Loan - Due to ACOMM                                      13,000,000            13,000,000

  Total Liabilities                                                   174,918,112           174,261,099

  Net Assets
  Unrestricted                                                       ( 113,107,690 )       ( 109,165,354 )
  Temporary Restricted                                                     144,803               144,803
  Permanently Restricted                                                   400,332               400,332
  Total Net Assets                                                   ( 112,562,555 )       ( 108,620,219 )

  Total Liabilities and Net Assets                               $      62,355,557     $      65,640,880
                                  Statement of Operations - Summary
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                                For the Six Months Ending June 30, 2019



                                                           2019 Year to Date
                                                                               Variance
                      Account                     Actual         Budget        Pos (Neg)      Prior Year
Revenues, Gains and Other Support

Net Resident Services                              8,354,171      8,856,273       (502,102)     8,803,507
Benevolent Care                                       (2,484)       (35,600)        33,116        (82,657)
Other Operating Revenue                              188,499        130,681         57,818        133,539
   Net Operating Revenue                         8,540,186       8,951,354       (411,168)     8,854,389

Amortization of Entrance Fees                       646,019         746,240       (100,221)       769,887

Interest and Dividend Income                         27,142          37,202        (10,060)        85,381
Realized Gain/Loss                                        0            (972)           972        (27,355)
    Investment Revenue                               27,142          36,230         (9,088)        58,026

Foundation Net Contribution Benefit                 156,855         105,821         51,034        160,961

Total Revenues, Gains and Other Support          9,370,202       9,839,645       (469,443)     9,843,263

Expenses

Salaries and Wages                                 2,867,287      3,222,076        354,789      2,961,820
Employee Benefits                                    955,552        913,580        (41,972)       902,483
Contract Labor                                       842,939        855,494         12,555        859,900
Food Purchases                                       453,550        500,316         46,766        478,158
Medical Supplies and Other Resident Costs            330,740        412,549         81,809        383,943
General and Administrative                         1,727,344        902,605       (824,739)       635,037
Building and Maintenance                           1,055,445      1,206,312        150,867        971,110
Insurance                                            173,150         81,173        (91,977)        80,917
Interest                                           2,146,134      1,736,679       (409,455)     2,173,466
Taxes                                                149,142        189,971         40,829         83,266
Bad Debt Allowance                                    53,283         12,500        (40,783)        38,102
Depreciation and Amortizatiion                     1,834,982      1,910,515         75,533      1,922,495
Services Allocation                                  777,640        778,808          1,168        897,253
Total Expenses                                  13,367,188      12,722,578       (644,610)    12,387,950
Income (Loss) From Operations
  Before Other Gains/(Losses)                    (3,996,986)    (2,882,933)    (1,114,053)    (2,544,687)



Income (Loss) From Operations                    (3,996,986)    (2,882,933)    (1,114,053)    (2,544,687)

Unrealized Gains/Losses on Investments                                                            (49,983)
Foundation Unrealized Gain/Loss                      48,040                         48,040         (7,970)
Transfer of Capital - Foundation                      6,611                          6,611        605,808
Net Change in Unrestricted Net Assets            (3,942,335)    (2,882,933)    (1,059,402)    (1,996,832)

Operating Ratio Expenses                          11,478,923     10,799,563       (679,360)    10,427,353
Operating Ratio Revenue                            8,567,328      8,988,556       (421,228)     8,939,770
                                                   2,911,595      1,811,007     (1,100,588)     1,487,583

Operating Ratio                                      134.0%          120.1%         -13.9%         116.6%
                                  Statement of Cash Flows
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                             For the Year Ending June 30, 2019

                                                                                   2019
                                                                                   YTD

    CASH FLOWS FROM OPERATING ACTIVITIES
     (Increase) / Decrease in Net Deficit                                         (3,942,336)

      Adjustments to Reconcile (Increase) / Decrease in Net Deficit to
       Net Cash Provided by Operating Activities:
            Provision of Bad Debts                                                    53,283
            Depreciation and Amortization                                          1,834,982
            Amortization of Discount (Premium) on Bonds                               (6,713)
            Amortization of Deferred Bond Costs                                       39,814
            Amortization of Entrance Fees                                          (646,019)
            Proceeds from Entrance Fees and Advance Deposits                       (519,586)

            Net increase (decrease) in cash due to changes in:
                Restricted Cash                                                     (609,109)
                Accounts Receivable, Net                                                46,787
                Prepaids and Other Assets                                             (65,996)
                Deferred Entrance Fees                                                852,949
                Deferrred Revenue                                                   (122,488)
                Accounts Payable and Accrued Expenses                                   16,170
                Accrued Bond Interest Payable                                       1,703,344
                  Net cash provided by/(used in) operating activities:            (1,364,918)

    CASH FLOWS FROM INVESTING ACTIVITIES
       Purchase of Property and Equipment, Net                                     (257,192)
       Proceeds from Sale of Investments, Net                                        379,739
                 Net cash provided by/(used in) investing activities:                122,547

    CASH FLOWS FROM FINANCING ACTIVITIES
       Transfers of Capital to ACOMM                                                      -
       Increase/(Decrease) in due to/from affiliates                                 192,493
       Payments on Long-Term Debt                                                         -
                 Net cash provided by/(used in) financing activities:                192,493

    NET INCREASE / (DECREASE) IN CASH AND CASH EQUIVALENTS                        (1,049,879)

    Cash and Cash Equivalents at Beginning of Period                               1,970,579
    CASH AND CASH EQUIVALENTS - END OF PERIOD                                        920,700
